        Case 1:18-cr-00258-BLW Document 305 Filed 09/25/19 Page 1 of 1




CRIMINAL PROCEEDINGS - Change of Plea
  UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO
Judge: Candy W. Dale               Date: September 25, 2019
Courtroom Deputy/ESR: Amy Tate     Time: 10:27-11:13 AM
                                   Location: Boise, ID

               UNITED STATES OF AMERICA vs. ARTUR PUPKO
                        Case No.: 1:18-cr-00258-S-BLW

Counsel for United States: AUSA Katherine Horwitz, Timothy Flowers and
Counsel for Defendant: Gabriel McCarthy, previously retained – CJA appointment
                                following today’s hearing
Interpreter: N/A

Defendant placed under oath.
**Defendant requested appointment of counsel. Court reviewed CJA23 Financial
Affidavit. Gabriel McCarthy, previously retained, shall be appointed as CJA counsel in
this matter for all future proceedings, following change of plea hearing today.**
☒Waiver of Right to District Judge executed.
Defendant found competent to enter a knowing and voluntary plea.
Defendant is satisfied with representation of counsel.
Government stated for the record the elements and evidence of the charge(s).
Defendant advised of the sentencing guidelines and maximum penalties.
Defendant’s Constitutional Rights explained.
Defendant agrees with the elements of the charge(s) as stated by the Government.
Plea Agreement discussed and Defendant understands the terms of the agreement.
Defendant and counsel advised the change of plea is voluntary, all potential defenses
have been discussed and Defendant fully understand the rights which are being waived.
Defendant entered a plea of guilty to Count(s) 32, 33, & 34 of the Superseding Indictment.
Plea accepted by the Court.
Sentencing set before Judge B. Lynn Winmill: December 17, 2019 at 11:00 AM
Court ordered a presentence investigation report.
     Original report to Counsel: November 5, 2019
     Notification of Objections: November 19, 2019
     Final Report Due: December 3, 2019
☒Report and Recommendation shall be entered recommending: dismissal of Counts 1, 5,
7, 8, 14, 16, 17, 20, & 35 of the Superseding Indictment at the time of Sentencing.
Defendant's custody status remains as previously ordered.

Any motions for departure, sentencing memorandums or letters in support must be filed
seven (7) days prior to the sentencing hearing. Sentencing hearing is scheduled for 1 hour.
